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DEPARTMENT OF THE TREASURY
INTERNAL REVENUE SERVICE
WASHINGTON, DC 20224

SMALL BUSINESS/SELF-EMPLOYED DIVISION
Date: 03/25/2009

LAWRENCE M AND JEAN A BIRK
MMEASTER DAY PLACE
LAKE GEORGE, CO 80827-9727

Dear Mr. and Mrs. Birk,

The purpose of this letter is to inform you of the government's intent to initiate a civil suit to
foreclose the tax liens against your real property located at:

Ml Easter Day Pl, Lake George, CO 80827, Park County
MMM Easter Day PI, Lake George, CO 80827, Park County
9.05 acres vacant land, Cripple Creek, Teller County

Your tax liabilities remain unpaid and unresolved. This is your last opportunity to voluntarily
resolve your liabilities before action is taken to foreclose our tax liens. | have enclosed
Letter 3174 to provide a current outstanding balance.

Enclosed you will find Publications 1 and 594, explaining your rights as a taxpayer and the
collection process, as well as Forms 1660, 9423 and 911.

lf you feel the above enforcement actions are inappropriate, you may file an appeal under
the Collection Appeal Program (CAP). To begin this process, you must first request a
conference with Group Manager Cindy Bouldin. Ms. Bouldin can be reached at (720) 956-
4311. If you do not resolve your issue with Ms. Bouldin, Form 9423 should be used to
request a Collection Appeal (CAP).

If you feel the above enforcement actions will create a hardship, you may appeal this
decision to the Taxpayer Advocate’s Office by using Form 911.

Please contact me at the address or the telephone number listed below if you require
assistance with completing any of these forms, or if you have any questions.

Internal Revenue Service
400 Rood Ave, Attn: R. Miller

Grand Junction, CO 81501

Government
Phone#: (970)241-5889 x234 Exhibit
Fax#: (970)245-8360 48
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Sincerely,
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ROSEANNE M MILLER
REVENUE OFFICER
Employee ID#: 84-10096

Enclosures:
Forms 1660, 9423, 911
Publications 1, 594
Letters 3174

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EX-048.0002
